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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,
                                                           Civil Action No. 2:17-cv-192
                   v.
                                                           JURY TRIAL DEMANDED
 CANON U.S.A., INC.,

                        Defendant.


              JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Display

 Technologies, LLC and Defendant Canon U.S.A., Inc. stipulate and agree that all claims in the

 above action should be dismissed without prejudice.

        Each party shall bear its own costs, expenses, and attorneys’ fees incurred in connection

 with this case.
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 Dated: August 23, 2017                               Respectfully submitted,

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                                                    ATTORNEYS FOR DEFENDANT
                                                    CANON U.S.A., INC.

                                CERTIFICATE OF SERVICE

         I hereby certify that on August 23, 2017, I electronically filed the foregoing document
 with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 via electronic mail to all counsel of record.


                                                      /s/ Thomas C. Wright
                                                      Thomas C. Wright




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